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CGFD15 (10/1/16)




ORDERED in the Southern District of Florida on July 11, 2017




                                                                                                  Erik P. Kimball
                                                                                                  United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                                 Case Number: 16−20959−EPK
                                                                                                                 Chapter: 13

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette
2035 Linton Lake Dr. Apt. #B
Delray Beach, FL 33445

SSN: xxx−xx−9067


                                                    ORDER DISMISSING CASE
     At the time of filing of the above referenced case on August 8, 2016, the debtor was provided notice
by the court of filing requirements and the deadline(s) to correct deficiencies.

As of the date of this order, the debtor has failed to correct the following deficiency(ies) by the required
07/05/2017 deadline:

                       Official Bankruptcy Form 122C−1, Chapter 13 Statement of Your Current Monthly Income
                       and Calculation of Commitment Period and/or 122C−2, Chapter 13 Calculation of Your
                       Disposable Income

        Because the debtor has failed to meet the deadline(s) above for the listed deficient items, it is

ORDERED that:

 1. In accordance with 11 U.S.C. § 105(a), this case is dismissed with prejudice as to the filing of any
    bankruptcy case in any federal bankruptcy court in the United States of America by the
    above−named debtor for 180 days from entry of this order, or the expiration of any prejudice period
    set in any previous order, whichever is later.

 2. All pending motions are denied as moot.

 3. The trustee shall file a final report prior to the administrative closing of the case.
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 4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Flagler Waterview Building,
    1515 N Flagler Dr, Room 801, West Palm Beach FL 33401, $0.00 for the balance of the filing fee as
    required by Local Rule 1017−2(E). Payment must be made in cash, money order or cashier's or
    "official" check. Any funds remaining with the trustee shall be applied to this balance and the trustee
    must dispose of any funds in accordance with the Bankruptcy Code and Local Rule 1017−2(F),
    unless otherwise ordered by the court. The court will not entertain a motion for reconsideration of this
    order unless all unpaid fees are paid at the time the motion is filed.

 5. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for filing
    any future voluntary petitions submitted by this debtor if the refiling violates a prior order of the court
    or if the petition is accompanied by an Application to Pay Filing Fee in Installments and filing fees
    remain due from any previous case filed by the debtor.
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The clerk shall serve a copy of this order on all parties of record.
